Case 17-04060      Doc 27     Filed 08/01/18     Entered 08/01/18 13:50:38    Main Document
                                               Pg 1 of 3


                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

 In Re:                                         )    Case No. 13-40091-399
                                                )
 Shell J. Sharp,                                )
                                                )    Chapter 7
                Debtor.                         )
                                                )
                                                )
 Michael Holmes,                                )
                                                )
                Plaintiff,                      )
 v.                                             )    Adversary No. 17-04060-399
                                                )
 Shell J. Sharp,                                )
                                                )
                Defendant.                      )

                             SCHEDULING ORDER CONCERNING
                                  DISPOSITIVE MOTIONS

          On April 18, 2017, Michael Holmes filed his Complaint, commencing this adversary

 proceeding which is premised on the dischargeability of judgment debt from a separate

 federal court action. Mr. Holmes obtained a ruling in his favor from the United States

 District Court for the Eastern District of Missouri in his action against Mr. Sharp. Since Mr.

 Sharp appealed to the United States Court of Appeals for the Eighth Circuit, I entered an

 Order in this adversary proceeding instructing counsel for Mr. Holmes to advise me and

 counsel for Mr. Sharp of developments in the case pending before the Eighth Circuit.

 Counsel to Mr. Holmes advised me that the Eighth Circuit affirmed and the mandate issued

 in the Eighth Circuit. Notwithstanding the fact that the appeal period to the United States

 Supreme Court has not expired, it is hereby

          ORDERED that August 22, 2018 shall be the deadline to file dispositive motions in

 this adversary proceeding. It is further
Case 17-04060     Doc 27     Filed 08/01/18      Entered 08/01/18 13:50:38   Main Document
                                               Pg 2 of 3


        ORDERED that the deadline to file any response to a dispositive motion shall be 21

 days after the dispositive motion is filed.




  DATED: August 1, 2018
  St. Louis, Missouri                                 Barry S. Schermer
                                                      United States Bankruptcy Judge




                                                -2-
Case 17-04060   Doc 27    Filed 08/01/18     Entered 08/01/18 13:50:38   Main Document
                                           Pg 3 of 3


 Copies to:

 David B. Owens
 Loevy & Loevy
 311 N. Aberdeen, Third Floor
 Chicago, IL 60607

 David Nelson Gunn
 The Consumer Law Center of Saint Louis
 DBA The Bankruptcy Company LLC
 2025 S. Brentwood, Ste 206
 Brentwood, MO 63144

 Shell J. Sharp
 4324 Beethoven Ave
 St Louis, MO 63116

 Sharis R. Sharp
 4324 Beethoven Ave
 St Louis, MO 63116

 United States Trustee
 U.S. Courthouse
 111 S. 10th Street
 Suite 6353
 St. Louis, MO 63102

 Trustee
 Kristin J Conwell
 Conwell Law Firm LLC
 PO Box 56550
 St. Louis, MO 63156




                                            -3-
